Case 8:19-cv-00710-MSS-TGW Document 73 Filed 11/20/19 Page 1 of 10 PageID 1195



                               UNITED STATES DISTRICT COURT
                                 MIDDLE DISTRICT OF FLORIDA
                                       TAMPA DIVISION


  UMG RECORDINGS, INC., et al.,

                 Plaintiffs,

         v.
                                                      Case No. 8:19-cv-710-MSS-TGW
  BRIGHT HOUSE NETWORKS, LLC,

                 Defendant.


   PLAINTIFFS’ MOTION TO STRIKE DEFENDANT BRIGHT HOUSE NETWORKS,
            LLC’S NOTICE OF PROPOSED AMICUS CURIAE BRIEF

                                  PRELIMINARY STATEMENT

        Plaintiffs respectfully request that this Court strike the Notice of Proposed Amicus Curiae

 Brief (Dkt. No. 72) (the “Notice”) filed by Defendant Bright House Networks, LLC (“Bright

 House”) on November 13, 2019. The Notice improperly attaches and seeks to introduce in this

 case an amicus curiae brief that has been proposed—but not accepted—in a separate case,

 pending in a different jurisdiction. The Notice should be stricken for two independent reasons.

 First, neither Bright House nor the brief’s authors have sought leave to file an amicus brief in

 this action. Second, Bright House’s attempt to submit supplemental briefing through the guise of

 a purported “notice” violates several of this Court’s Local Rules, which require the parties to

 obtain leave of Court before submitting any additional briefing—without attaching the proposed

 briefing to such request—and to meet and confer before filing any motions. Additionally, even

 if leave to submit an amicus brief were sought, leave would not be appropriate here.




                                                  1
Case 8:19-cv-00710-MSS-TGW Document 73 Filed 11/20/19 Page 2 of 10 PageID 1196



                                   FACTUAL BACKGROUND

        On May 28, 2019, Defendant Bright House Networks, LLC filed its Motion to Dismiss

 Plaintiffs’ Claim for Vicarious Liability (Dkt. No. 32). Plaintiffs filed their Opposition on July

 1, 2019 (Dkt. No. 39), and Bright House replied on August 12, 2019 (Dkt. No. 45). Bright

 House’s Motion to Dismiss remains pending before the Court.

        Several of the Plaintiffs in this suit have filed a separate lawsuit against a different

 internet service provider, Charter Communications, Inc., in the District of Colorado. Warner

 Records Inc., et al. v. Charter Communications, Inc., No.: 19-cv-00874-RBJ-MEH (D. Colo.

 2019) [hereinafter, “Charter Action”]. In that separate Charter Action, the Colorado Magistrate

 Judge issued a Recommendation denying a motion to dismiss that Charter had filed, seeking to

 dismiss the vicarious liability count alleged in that case. Recommendation of United States

 Magistrate Judge, Charter Action, ECF No. 71. Following that recommendation, a group of law

 professors moved on November 11 for leave to file an amicus brief in the Charter Action in

 support of Charter’s objections to the Recommendation of the Magistrate Judge. Plaintiffs

 opposed that motion four days later. See Motion for Leave to File Brief Amici Curiae of

 Copyright Law Professors in Support of Defendant’s Objection to Magistrate’s

 Recommendation, Charter Action, ECF No. 83; Brief in Opposition to Motion to File Amicus

 Brief, Charter Action, ECF No. 86. As of the date of this filing, the court in the Charter Action

 has not ruled on the proposed amici’s motion for leave to file an amicus brief.

        Despite the fact that the Colorado district court has not accepted the professors’ amicus

 brief, Bright House filed a Notice of Proposed Amicus Curiae Brief (Dkt. No. 72) in this case on

 November 13, referencing and attaching in full the amicus brief that has been submitted (but not

 accepted) in the Charter Action. Bright House did not meet and confer with Plaintiffs prior to



                                                   2
Case 8:19-cv-00710-MSS-TGW Document 73 Filed 11/20/19 Page 3 of 10 PageID 1197



 submitting the amicus brief, nor has it obtained leave of Court to submit an amicus brief.

 Moreover, the proposed amici that authored the brief have not sought leave to submit their

 amicus brief in this action.

        After Bright House submitted its Notice, Plaintiffs notified Bright House’s counsel that

 the Notice was improper because, inter alia, Bright House had not sought leave to submit

 supplemental briefing nor met and conferred with Plaintiffs. Plaintiffs requested that Bright

 House’s counsel voluntarily withdraw the Notice by November 18, or otherwise provide its

 position on Plaintiffs’ proposed motion to strike the Notice. Bright House’s counsel did not

 respond by that date. On November 19, counsel for Plaintiffs again attempted to contact counsel

 for Bright House in a further attempt to meet and confer regarding Bright House’s position on

 the instant motion. In response, Bright House’s counsel represented that she was planning to

 confer with her client early the following morning and would advise Plaintiffs as to her client’s

 position promptly thereafter. Bright House’s counsel failed to do so, and as of the time of this

 filing, Bright House still has not responded to Plaintiffs. Accordingly, Plaintiffs now bring this

 motion to strike.

                                            ARGUMENT

        Bright House’s procedurally-improper Notice should be stricken from the record in this

 case for at least two reasons, as set forth below.

        First, the Notice should be stricken because neither Bright House nor the proposed amici

 have sought leave from this Court to file an amicus brief in this proceeding. It is well established

 that amici curiae must first obtain leave of court before submitting an amicus brief. See Florida

 ex rel. McCollum v. U.S. Dep’t of Health & Human Servs., 2010 WL 11570635, at *1–2 (N.D.

 Fla. 2010) (applying Fed. R. App. P. 29(a)(2) to district court proceeding and holding that “[a]ny



                                                      3
Case 8:19-cv-00710-MSS-TGW Document 73 Filed 11/20/19 Page 4 of 10 PageID 1198



 organization or individual desiring to file an amicus brief . . . must first seek leave of court by an

 appropriate motion”); Fed. R. App. P. 29(a)(2) (noting that in appellate context, non-

 governmental “amicus curiae may file a brief only by leave of court or if the brief states that all

 parties have consented to its filing”).

        Here, Bright House seeks to bypass this requirement by simply styling its improper

 amicus brief submission as a “notice,” which refers this Court to the brief and then attaches the

 brief in full. But the amicus brief’s authors never sought leave from this Court to submit their

 brief in this case, nor have they expressed to Plaintiffs or the Court any intention or desire to do

 so. In other words, Bright House seeks to submit an amicus brief that it did not author, and to do

 so without having obtained leave of this Court. In fact, leave has not been granted by any court

 for the proposed amicus brief, making Bright House’s submission of that brief here even more

 egregious. Moreover, because the brief has not been accepted into the record in the Charter

 Action, Bright House’s Notice does not even purport to alert this Court to any meaningful

 development in that separate case.1

        Second, Bright House’s Notice should be stricken because it violates a number of this

 Court’s local rules. Local Rule 3.01(c) expressly prohibits the parties from filing any “further

 memorandum directed to [a] motion or response . . . unless the Court grants leave.” The amicus

 brief that Bright House has filed is plainly directed to its pending motion to dismiss, as it simply

 recites Bright House’s legal arguments. Bright House has not obtained (or even sought) leave to




 1
   To be sure, courts have permitted parties to file notices of recent judicial decisions where
 relevant to a pending motion. See, e.g., Hill Dermaceuticals, Inc. v. Anthem, Inc., 2016 WL
 7157530, at *4 (M.D. Fla. 2016). Bright House’s Notice does not call this Court’s attention to
 any judicial decisions, however; rather, it merely seeks to introduce a supplemental brief while
 skirting this Court’s procedural requirements. See id. (distinguishing supplemental briefing from
 a notice of recent case authority).

                                                   4
Case 8:19-cv-00710-MSS-TGW Document 73 Filed 11/20/19 Page 5 of 10 PageID 1199



 submit a supplemental memorandum on its motion to dismiss. Courts in this district regularly

 strike supplemental briefs filed under these circumstances. See City of Bradenton v. Safety Nat'l

 Cas. Corp., 2017 WL 2448394, at *2 (M.D. Fla. 2017) (finding that “Defendant cannot . . .

 attempt to file an additional reply . . . without leave of Court”); Hill Dermaceuticals, 2016 WL

 7157530, at *4 (“Absent such leave, the supplemented filing is unauthorized.”). Bright House’s

 attempt to end-run around these restrictions by “noticing” an amicus brief that has not been

 submitted in this case (or accepted in any other case) is all the more troubling.

        Likewise, Bright House’s Notice violates Local Rule 3.01(d), which expressly states that

 any motion seeking leave to submit supplemental briefing “shall not include, as an attachment or

 otherwise, the proposed motion, response, reply, or other paper.” Indeed, the plain purpose of

 this rule is to prevent what Bright House is doing here: filing the supplemental briefing as an

 attachment before having obtained leave to do so in order to skirt the requirements of Local Rule

 3.01(c).

        Additionally, even if Bright House’s Notice were viewed as a motion for leave to submit

 an amicus brief, the Notice would still be procedurally improper pursuant to Local Rule 3.01(g),

 which requires a party to meet and confer before filing any motion. Here, Bright House filed its

 Notice without meeting and conferring with Plaintiffs’ counsel. Likewise, the brief’s authors

 have never met and conferred with Plaintiffs’ counsel for the purpose of having their brief

 submitted in this case.

            Finally, and in any event, the grounds for permitting an amicus brief are narrowly

 limited to those where “a party is not represented competently or is not represented at all, when

 the amicus has an interest in some other case that may be affected by the decision in the present

 case . . . or when the amicus has unique information or perspective that can help the court



                                                   5
Case 8:19-cv-00710-MSS-TGW Document 73 Filed 11/20/19 Page 6 of 10 PageID 1200



 beyond the help that lawyers for the parties are able to provide. Otherwise, leave to file an

 amicus brief should be denied.” Leal v. Dept. of Health & Human Servs., 2009 WL 1148633, at

 *1–2 (M.D. Fla. 2009). Here, Bright House’s proposed amicus brief simply recites the same

 legal arguments made in Bright House’s own motion to dismiss, which is of no use to the Court.

        In short, Bright House’s Notice is a transparent attempt to sidestep this Court’s rules and

 submit supplemental briefing—which itself offers nothing new or unique for the Court—to

 support Bright House’s pending motion to dismiss. That is plainly improper under both

 established precedent and this Court’s procedural requirements.

                                          CONCLUSION

        For the foregoing reasons, Plaintiffs respectfully request that the Court strike Bright

 House’s Notice of Proposed Amicus Curiae Brief (Dkt. No. 72).



  Dated: November 20, 2019                  Respectfully submitted,

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                                                  6
Case 8:19-cv-00710-MSS-TGW Document 73 Filed 11/20/19 Page 7 of 10 PageID 1201



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                                        7
Case 8:19-cv-00710-MSS-TGW Document 73 Filed 11/20/19 Page 8 of 10 PageID 1202



                            LOCAL RULE 3.01(g) CERTIFICATION

        Plaintiffs’ counsel conferred with Bright House’s counsel on several occasions. First,

 Plaintiffs sent Bright House a letter dated November 15, 2019, in which Plaintiffs requested that

 Bright House’s counsel voluntarily withdraw the Notice by November 18, or otherwise provide

 its position on Plaintiffs’ proposed motion to strike the Notice. Then, having not heard from

 Bright House by November 18, Plaintiffs’ counsel attempted to contact Bright House’s counsel

 on November 19 in a further attempt to meet and confer regarding Bright House’s position on the

 instant motion. On a telephone call later that day, Bright House’s counsel represented that she

 was planning to confer with her client early the following morning (on November 20) and would

 advise Plaintiffs as to her client’s position promptly thereafter. Bright House’s counsel failed to

 do so, and as of the time of this filing, Bright House still has not responded to Plaintiffs.

 Accordingly, the parties have not been able to resolve the issues in this motion.

        WHEREFORE, Plaintiffs respectfully request entry of an order striking Bright House’s

 Notice of Proposed Amicus Curiae Brief (Dkt. No. 72).



  Dated: November 20, 2019                   Respectfully submitted,

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                                                   8
Case 8:19-cv-00710-MSS-TGW Document 73 Filed 11/20/19 Page 9 of 10 PageID 1203



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                                        9
Case 8:19-cv-00710-MSS-TGW Document 73 Filed 11/20/19 Page 10 of 10 PageID 1204



                                  CERTIFICATE OF SERVICE

         I HEREBY CERTIFY that on November 20, 2019, I caused the foregoing to be filed

  electronically with the Clerk of the Court using the CM/ECF system, which will send a notice of

  electronic filing to all counsel of record registered with CM/ECF.


                                                      /s/ Mitchell A. Kamin
                                                      Attorney for Plaintiffs




                                                 10
